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                                 No. 23-20480

          In the United States Court of Appeals
                  for the Fifth Circuit
The Woodlands Pride, Incorporated; Abilene Pride Alliance;
Extragrams L.L.C.; 360 Queen Entertainment, L.L.C.; Brigitte
                          Bandit,
                               Plaintiffs-Appellees,
                             v.
Warren Kenneth Paxton, In an official capacity as Attorney
  General of Texas; Brett Ligon, in an official capacity as
  District Attorney of Montgomery County; Montgomery
   County, Texas; James Hicks, in an official capacity as
District Attorney of Taylor County; Taylor County, Texas;
                  City of Abilene, Texas,
                               Defendants-Appellants.

               On Appeal from the United States District Court
             for the Southern District of Texas, Houston Division

      APPELLANT ATTORNEY GENERAL PAXTON’S
                 OPENING BRIEF

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             Certificate of Interested Persons
                         No. 23-20480
The Woodlands Pride, Incorporated; Abilene Pride Alliance;
Extragrams L.L.C.; 360 Queen Entertainment, L.L.C.; Brigitte
                          Bandit,
                                Plaintiffs-Appellees,
                                          v.
Warren Kenneth Paxton, In an official capacity as Attorney
  General of Texas; Brett Ligon, in an official capacity as
  District Attorney of Montgomery County; Montgomery
   County, Texas; James Hicks, in an official capacity as
District Attorney of Taylor County; Taylor County, Texas;
                  City of Abilene, Texas,
                              Defendant-Appellants.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, appellant, as a govern-
mental party, need not furnish a certiﬁcate of interested persons.

                                        /s/ William F. Cole
                                        William F. Cole
                                        Counsel of Record for
                                        Attorney General Paxton




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           Statement Regarding Oral Argument
    The Attorney General respectfully suggests that oral argument is warranted in
this sprawling pre-enforcement First Amendment challenge to the Act of May 29,
2023, 88th Leg., R.S., ch. 931, 2023 Tex. Sess. Law Serv. 2975, commonly known as

“S.B. 12,” which prohibits certain graphic “sexually oriented performances” in the
presence of minors. After converting a hearing on a preliminary-injunction motion
into a two-day trial, the district court held that S.B. 12 facially violated the First

Amendment on at least four separate theories and permanently enjoined the Texas
Attorney General, two counties and their district attorneys, and one city from en-
forcing any of its provisions. In the process, it overlooked that Plaintiffs’ own testi-
mony at trial revealed several dispositive jurisdictional defects bearing on their
claims. And on the merits, the court misconceived the facts and then misapplied
First Amendment precedents of both the Supreme Court and this Court. Given the
complexity of both the record and the relevant legal doctrines, discussion of the facts
and applicable precedent would likely aid the Court’s decisional process.




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                                 Introduction
    S.B. 12 serves a clear purpose: it protects children and the public from the dele-
terious effects of minors’ exposure to graphic sexually explicit conduct. S.B. 12 ac-
complishes this purpose by restricting minors from attending performances that in-
volve nudity or five narrowly defined categories of “sexual conduct” and that appeal
to the prurient interest in sex. S.B. 12 §§ 1, 3. Not once during a two-day trial on the
merits did any of the five separate plaintiffs in this facial, pre-enforcement challenge
assert any desire to perform nude or engage in sexual acts on stage in the presence of
minors. Nevertheless, they insist that S.B. 12 violates their rights to free speech by
prohibiting them from participating in or producing theatrical “drag shows.” And
the district court agreed, permanently enjoining the Texas Attorney General and
several local officials from enforcing S.B. 12 in its entirety.
    The Court should reverse and render judgment for the Attorney General be-
cause the district court lacked jurisdiction. To start, because Plaintiffs offered no ev-
idence that they wish to participate in highly sexualized performances in front of mi-
nors, Plaintiffs failed to establish the most fundamental aspect of Article III standing:
an injury. Plaintiffs also failed to establish that their non-existent injury is traceable
to the Attorney General, who may enforce S.B. 12 only against violators that “con-
trol the premises of a commercial enterprise.” Tex. Health & Safety Code
§ 769.002(a). No Plaintiff established that it (or she) controls such an enterprise.
    Plaintiffs likewise failed to prove their claims on the merits. Contrary to Plain-
tiffs’ repeated suggestions, S.B. 12 does not ban the theatrical “drag shows” they
wish to stage or perform that involve the mere conduct of dancing while dressed in
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costume. And Plaintiffs failed to demonstrate that the sexually oriented perfor-
mances that are regulated by S.B. 12 involve any “inherently expressive” conduct

that the First Amendment protects. Instead, because S.B. 12 is (at most) a content-
neutral “manner” or “place” restriction that targets the adverse “secondary ef-
fects” of minors’ exposure to sexually explicit conduct, it easily survives constitu-

tional scrutiny. At minimum, Plaintiffs’ facial challenge is defective because they did
not demonstrate that S.B. 12’s “unconstitutional applications [are] realistic, not fan-
ciful, and their number [are] substantially disproportionate to the statute’s lawful

sweep.” United States v. Hansen, 599 U.S. 762, 770 (2023).

                     Statement of Jurisdiction
    This Court has appellate jurisdiction under 28 U.S.C. § 1291.

                             Issues Presented
    1. Whether Plaintiffs failed to establish the injury-in-fact and traceability ele-
ments of the Article-III-standing test at trial.
    2. Whether S.B. 12’s age limitation for attendance at “sexually oriented per-
formances” complies with the First Amendment’s Free Speech Clause.

                         Statement of the Case

I. Factual Background
    In late 2022, the media reported that a number of highly graphic and sexualized
performances were being staged in front of minors. For example, one well-publicized
incident at a restaurant in Plano, Texas, involved a performer “lifting her skirt and

gyrating while lip-synching lyrics” that described oral sex, as well as giving “lap



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dances,” while “a confused kid look[ed] on.” Mark Lungariello, Video of drag queen
gyrating in front of child has Texas pols pushing for legislative action, N.Y. Post (Oct. 19,
2022), http://tinyurl.com/2fmuushz. In Austin, two individuals “clad in BDSM
harnesses and fur” “simulat[ed] sex multiple times, grinding against each other and
shoving their faces in” another’s “fake, fur-covered breasts while the other humped
the man’s rear.” Soli Rice, GRAPHIC: Undercover Reporter Documents Shocking
‘Family-Friendly’ Drag Show, Texas Scorecard (Dec. 19, 2022), http://ti-
nyurl.com/3u6w2nns. After engaging in these sexually explicit acts, one participant
“ask[ed] [a] little boy [in the audience] what his favorite part of the show was.” Id.
Another event involved individuals “simulat[ing] grinding and humping while
touching themselves inappropriately.” Id. Yet another involved a man stripping
down to a thong, exposing “fully nude faux breasts,” and “multiple audience
members slap[ping] his rear” before he “approach[ed] one child in the audience”
stating, “[Y]ou’re reaching for my titties. Are you hungry?” Id. This individual
then goaded the audience into laughing at the child for calling for his mother. Id.
    In response to such reports, ROA.583, the Texas Legislature began formulating
what would eventually become S.B. 12. In subcommittees, the Legislature heard tes-
timony in favor of the bill describing the harms that befall children who are exposed
to sexually explicit conduct at an early age. One witness, for example, testified that
“research has proven time and time again” that “exposing kids to very sexual con-
tent at an early age,” “leads to a lot of issues later on in life, including becoming
violent, facing problems with intimacy, and even dysfunction later on in life.” See
Hearing on S.B. 12 before the S. Comm. on State Affairs, 88th Leg., R.S. at 1:04:16-

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33 (Mar. 23, 2023), http://tinyurl.com/5nrwmbuf (“Senate Hearing”). Another
testified that because exposure at an early age to the types of performances S.B. 12

regulates can be a “traumatic experience,” the effect “doesn’t go away,” and may
persist “for decades.” Id. at 1:07:25-58.
    The Legislature also heard—and accounted for—testimony from the bill’s op-

ponents, who expressed concern that S.B. 12 would ban theatrical “drag shows.”
See, e.g., id. at 1:10:14-1:16:32, 4:12:00-4:19:28, 4:21:40-4:23:35; Hearing on S.B. 12
before the H. Comm. on State Affairs, 88th Leg., R.S. at 1:08:00-1:09:59, 1:20:50-

1:23:05 (May 10, 2023), http://tinyurl.com/52t8fut8. Specifically, the Legislature
limited S.B. 12’s scope to “sexually oriented performance[s],” defined to include a
“visual performance” that: (1) involves a performer who either is “nude, as defined

by Section 102.051, Business & Commerce Code” or “engages in sexual conduct”
and (2) “appeals to the prurient interest in sex.” Tex. Penal Code § 43.28(a)(2)(A)-
(B). In turn, S.B. 12 narrowly defines “sexual conduct” as “the exhibition or repre-
sentation, actual or simulated” of (1) “sexual acts, including vaginal sex, anal sex,
and masturbation”; (2) “male or female genitals in a lewd state, including in a state
of sexual stimulation or arousal”; (3) “a device designed and marketed as useful pri-

marily for the stimulation of male or female genitals”; (4) “actual contact or simu-
lated contact occurring between one person and the buttocks, breast, or any part of
the genitals of another person”; or (5) “sexual gesticulations using accessories or
prosthetics that exaggerate male or female sexual characteristics.” Id.
§ 43.28(a)(1)(A)-(E).



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    S.B. 12 seeks to limit the exposure of minors to such sexually explicit perfor-
mances in three substantive ways. First, those who “control[] the premises of a com-

mercial enterprise may not allow a sexually oriented performance to be presented on
the premises in the presence of an individual younger than 18 years of age.” Tex.
Health & Safety Code § 769.002(a). Second, S.B. 12 forbids a municipality or county

to “authorize a sexually oriented performance” “on public property” or “in the
presence of [such] an individual.” Tex. Loc. Gov’t Code § 243.0031(c)(1)-(2).
Third, S.B. 12 makes the presentation of a “sexually oriented performance” a mis-

demeanor, Tex. Penal Code § 43.28(c), but clarifies that “an offense” occurs only if
a sexually oriented performance takes place “(1) on public property at a time, in a
place, and in a manner that could reasonably be expected to be viewed by a child; or

(2) in the presence of an individual younger than 18 years of age,” id. § 43.28(b)(1)-
(2). The law tasks the Attorney General with enforcing only the first of these provi-
sions. Tex. Health & Safety Code § 769.002(c).

II. Procedural History
    One month before S.B. 12 was scheduled to take effect, two non-profits (The

Woodlands Pride, Inc. and Abilene Pride Alliance), two entertainment companies
that produce drag shows (Extragrams, L.L.C. and 360 Queen Entertainment, LLC),
and one drag-show performer (Brigitte Bandit)—sued the Attorney General, two

counties, one city, and several district attorneys. ROA.20-62. Their complaint as-
serted that S.B. 12 violated the First Amendment in a litany of ways, including as a
content- and viewpoint-based restriction on speech and under the overbreadth,
vagueness, and prior-restraint doctrines. ROA.58-61. One week later, Plaintiffs

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moved for a temporary restraining order and a preliminary injunction. ROA.104-66.
The district court subsequently converted the hearing on Plaintiffs’ motion for a pre-

liminary injunction into a trial on the merits, which it set three days before S.B. 12
was to take effect. ROA.240-41.
    Over two days, the district court heard testimony from five witnesses, one rep-

resenting each Plaintiff. ROA.1373-1585, 1659-70. Each described how they wished
to stage or perform “drag [shows],” which they described as “theatrical” perfor-
mances involving “the overdramatization of a character or a gender,” often concern-

ing “celebrity lookalikes.” ROA.1374-75. According to the Plaintiffs, their perfor-
mances “[t]ypically” involve “dancing, lip syncing, engaging with the audience by
hugging, kissing on the cheek, sometimes bumping hips.” ROA.1451. Extragrams,

Abilene Pride Alliance, and Woodlands Pride stressed that their performances and
dancing, which are performed for all ages, are not sexual in nature, ROA.1391-92,
1466, 1544-45, 1581-82. Although 360 Queen and Bandit admitted that they do stage
or perform some sexually explicit performances, they insisted that such perfor-
mances are limited to adults. ROA.1416, 1566-67, 1664-65.
    In response, the Attorney General attempted to offer the testimony of a psychi-

atrist who would have described the deleterious effects that exposure to sexually ex-
plicit conduct has on minors. But the district court deemed such testimony not “rel-
evant,” and did not permit the witness to testify outside of a ten-minute proffer.
ROA.1496-97. During those ten minutes, the witness stated that harmful effects
stemming from early exposure to sexually explicit conduct included various



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interpersonal and social issues, ROA.1501; subsequent exploitation, ROA.1502-03;
chronic masturbation, ROA.1504; and other sexual deviance, ROA.1504.

    The district court issued a temporary restraining order, ROA.960-64, 1186-88,
and, later, a permanent injunction, preventing Defendants from enforcing S.B. 12,
ROA.1240-95. Over the Attorney General’s objection, the district court found that

Plaintiffs had standing because S.B. 12 regulates “drag shows,” thus harming Plain-
tiffs in a way traceable to the Attorney General because he can “enforce [civil] pen-
alties” against those who “control . . . premises” where such performances are pre-

sented. ROA.1265-72. On the merits, the court concluded that S.B. 12 was a content-
and viewpoint-based restriction on “expressive conduct”—drag shows—and failed
strict scrutiny because it was not “narrowly tailored to promote” the State’s con-

cededly compelling interest in protecting children. ROA.1274-85. The court also
concluded that S.B. 12’s definition of “sexual conduct” was unconstitutionally over-
broad; that the terms “prurient interest in sex” and “lewd” were unconstitutionally
vague notwithstanding their judicial provenance; that S.B. 12’s authorization for lo-
cal governments to regulate “sexually oriented performances” was a “prior restraint
on speech”; and that no part of S.B. 12 was severable from its definition of “sexually

oriented performances.” ROA.1272-73, 1286-93.
    The Attorney General appealed, ROA.1296-97, and moved the district court for
a stay pending appeal on September 29, ROA.1299-1322. After a multi-week delay,
the district court denied the request on October 20. The Attorney General then
moved this Court for a stay pending appeal, which remains pending.



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                     Summary of the Argument
    I.   At the outset, the district court lacked jurisdiction over Plaintiffs’ claims
because the “evidence adduced at trial,” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561
(1992), demonstrated that Plaintiffs cannot meet either the injury-in-fact or tracea-
bility element of the familiar three-pronged test for Article III standing.
    To start, Plaintiffs have not proven that the conduct in which they wish to en-
gage is “arguably proscribed” by S.B. 12, as this Court requires for facial, pre-en-
forcement First Amendment challenges. Turtle Island Foods, S.P.C. v. Strain, 65
F.4th 211, 216 (5th Cir. 2023). Indeed, Plaintiffs’ trial witnesses either disclaimed any
desire to engage in conduct falling within the statutory definition of “sexually ori-
ented performances” in front of minors or testified that Plaintiffs do not engage in
such conduct. Plaintiffs’ only evidence of a putative injury was mere speculation that
S.B. 12 could be interpreted to ban what they insist is non-sexual dancing and cos-
tuming that takes place at their putatively theatrical “drag shows,” as well as inad-
vertent wardrobe malfunctions or accidental physical contact. Because none of these
“fanciful” applications of S.B. 12, Hansen, 599 U.S. at 770, even “arguably” follows
from the plain language of S.B. 12, Plaintiffs have shown (at most) a subjective chill,
which is insufficient to establish standing as a matter of law, e.g., Laird v. Tatum,
408 U.S. 1, 13-14 (1972).

    Plaintiffs certainly have not established that any hypothetical injury they may
theoretically have suffered is fairly traceable to the Attorney General. S.B. 12 tasks
the Attorney General with enforcement power only against “[a] person who controls
the premises of a commercial enterprise” and “allow[s]” a sexually oriented


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performance to be presented on premises “in the presence of” a minor. Tex. Health
& Safety Code § 769.002(a). But the evidence presented at trial demonstrated that

no Plaintiff “controls” the premises of any “commercial enterprise.” Instead, at
most, Plaintiffs borrow commercial venues for a few hours on certain days with the
consent of the owners or proprietors that do control them. Absent evidence that the

Attorney General can and likely will enforce S.B. 12 against them, they lack tracea-
bility (or a route around sovereign immunity). City of Austin v. Paxton, 943 F.3d 993,
997 (5th Cir. 2019).

    II. Even if Plaintiffs had established jurisdiction, they failed to demonstrate that
S.B. 12 violates the First Amendment. To bring the Free Speech Clause into play,
Plaintiffs must prove that the five carefully defined categories of “sexual conduct”

and nudity that S.B. 12 regulates, Tex. Penal Code § 43.28(a)(1)-(2), are “inherently
expressive,” see Rumsfeld v. F. for Acad. & Institutional Rts., Inc., 547 U.S. 47, 66
(2006) (“FAIR”). Plaintiffs attempted to do so exclusively by theorizing that S.B. 12
regulates “drag shows” and the multiplicity of communicative elements that such
shows supposedly convey. But S.B. 12 does not regulate “drag shows” as Plaintiffs
defined them at trial—let alone any expressive messages that such shows may intend

to convey. And Plaintiffs otherwise wholly failed to explain how the highly sexualized
conduct that is regulated by S.B. 12—such as the exhibition of sex acts or lewd dis-
plays of genitalia—qualifies as conduct that the First Amendment protects.
    Even if conduct protected by the First Amendment were at issue, S.B. 12 would
survive any applicable level of constitutional scrutiny. At most, S.B. 12 should be re-
viewed under—and survive—intermediate scrutiny because its age-limit

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requirement is a content-neutral “manner” or “place” restriction aimed at regulat-
ing the deleterious secondary effects of sexually explicit performances on minors. See

United States v. O’Brien, 391 U.S. 367, 376 (1968); City of Renton v. Playtime Theatres,
Inc., 475 U.S. 41, 46-49 (1986). Alternatively, S.B. 12 would survive even strict scru-
tiny because its age-limit requirement is narrowly tailored to meet the State’s com-

pelling interest in protecting the psychological and physical well-being of minors.
Moreover, S.B. 12’s terms are hardly unconstitutionally vague given that it speaks in
terminology that courts have long used to define areas outside the scope of the First

Amendment. And S.B. 12’s grant of authority to local governments to regulate “sex-
ually oriented performances” does not operate as a prior restraint because it does
not condition the exercise of First Amendment rights on pre-approval by govern-

ment entities.
    At minimum, Plaintiffs have failed to show—as they must to rely on the “over-
breadth” doctrine—that the number of S.B. 12’s realistic unconstitutional applica-
tions (if any) substantially outnumber its constitutional ones. E.g., Hansen, 599 U.S.
at 770. Instead, Plaintiffs tellingly rely on implausible hypotheticals that some court
might someday apply S.B. 12 to outlaw cheerleading, dancing, and live theater. That

does not suffice. Id.

                          Standard of Review
    This Court reviews legal questions de novo and findings of fact for clear error,
United States v. Ahsani, 76 F.4th 441, 446 (5th Cir. 2023), including any “facts that
underlie a jurisdictional determination,” DeJoria v. Maghreb Petrol. Expl., S.A., 935
F.3d 381, 390 (5th Cir. 2019).

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                                    Argument

I. The District Court Lacked Jurisdiction Over Plaintiffs’ Claims
   Against the Attorney General Because Plaintiffs Lack Standing.
    Plaintiffs’ facial challenge to S.B. 12 falters at the outset because they failed to
show that they “have (1) suffered an injury in fact [sufficient to confer standing],
(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is

likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S.
330, 338 (2016). Specifically, the “evidence adduced at trial,” Lujan, 504 U.S. at
561, failed to establish either the injury-in-fact or traceability element of this familiar

three-pronged standing test. Because “[t]he plaintiff, as the party invoking federal
jurisdiction, bears the burden of establishing these elements,” Plaintiffs’ claims
should have been dismissed. Spokeo, 578 U.S. at 338.

    A. Because S.B. 12 does not proscribe conduct in which Plaintiffs wish
       to engage, Plaintiffs have no injury-in-fact.
    An injury-in-fact cognizable under Article III must be “concrete, particularized,
and actual or imminent,” not “hypothetical or abstract.” TransUnion LLC v.
Ramirez, 594 U.S. 413, 423 (2021). As relevant here, “[a]n allegation of future injury

may suffice” to meet the “imminence” component of the Article III standing test
“if the threatened injury is ‘certainly impeding’ or there is a ‘‘substantial risk’ that
the harm will occur.’” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)

(quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409, 414 n.5 (2013)). “In pre-
enforcement cases” like this one, where a plaintiff “alleg[es] a violation of the First
Amendment’s Free Speech Clause, the Supreme Court has recognized that chilled
speech or self-censorship is an injury sufficient to confer standing.” Barilla v. City of

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Houston, 13 F.4th 427, 431 (5th Cir. 2021). But “[t]he chilling effect must have an
objective basis; ‘[a]llegations of a subjective ‘chill’ are not an adequate substitute.’”

Tex. State LULAC v. Elfant, 52 F.4th 248, 256 (5th Cir. 2022) (quoting Laird, 408
U.S. at 13-14).
    To make this showing, Plaintiffs must demonstrate that they (1) “intend[] to en-

gage in a course of conduct arguably affected with a constitutional interest,” (2) that
“is arguably proscribed by statute,” and (3) for which “there exists a credible threat
of prosecution.” Turtle Island, 65 F.4th at 215-16 (quoting Driehaus, 573 U.S. at 159).

Even assuming Plaintiffs met the first and third elements of this test, their own tes-
timony shows that they cannot meet the second because none of the conduct in
which they wish to engage is even arguably proscribed by S.B. 12’s prohibition

against “sexually oriented performance[s]” “in the presence of” a minor. Tex.
Health & Safety Code § 769.002(a); see also Tex. Penal Code § 43.28(a)(2), (b)(2).
Even though Plaintiffs maintain that they do not wish to stage or present “sexually
oriented performances” in the presence of minors, they nevertheless insist that over-
zealous law-enforcement officials might interpret their putatively theatrical drag-
show performances as running afoul of this prohibition in two ways. Neither theory

has merit.
    1. To qualify as a “sexually oriented performance,” a “visual performance”
must contain two components. First, it must “feature” either nudity or a “performer
who engages in” one of five carefully defined categories of “sexual conduct.” Tex.
Penal Code § 43.28(a)(2)(A). Second, that “visual performance” must also “ap-
peal[] to the prurient interest in sex.” Id. § 43.28(a)(2)(B).

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    The evidence adduced at trial demonstrates that Plaintiffs’ proposed conduct
meets neither component of this definition. Bandit and 360 Queen testified that they

generally arrange or perform shows for adults, not minors, ROA.1416, 1566-67—yet
performances in the presence of adults are not regulated by S.B. 12. When presented
with the statutory definitions of sexual conduct and asked by counsel whether their

performers engage, or wish to engage, in such statutorily proscribed conduct, repre-
sentatives from both Abilene Pride Alliance and Woodlands Pride repeatedly and
unequivocally stated “no.” ROA.1472-73, 1549-51. Likewise, Extragrams’s repre-

sentative testified that its company policies prohibit full or partial nudity and regulate
its performers costuming. ROA.1402-04. Its performers also do not engage in per-
formances that are “sexual,” ROA.1391-92, but instead tailor performances to the

age of the audience, ROA.1388. Bandit similarly testified that she would not “per-
form one of [her] sexual shows at an all-ages event” and disclaimed any effort to
obtain permission, through this lawsuit, to “perform actual or simulated sex acts for
a sexual purpose” or “perform nude at all-ages events.” ROA.1664-65.
    2. Extragrams, Abilene Pride Alliance, and Woodlands Pride nonetheless fret
that law enforcement might enforce S.B. 12 against “drag shows” based on the cos-

tuming, dancing, and other traditional accoutrements of such a “drag show.” For
example, Extragrams’s representative expressed concern that some could construe
S.B. 12 to prohibit performers from “performing with gender marker accessories,
[performers] moving their hips, [or] shimmying their shoulders.” ROA.1400. Abi-
lene Pride’s representative thought S.B. 12 might prohibit “front-facing hugs,” “ac-
cidental bumping[],” “hip bump[s],” and “[d]ancing, lip syncing, the use of wigs,

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makeup, chest plate[s], hip pads, dresses, jewelry, and other accessories,” such as a
“packer[]” (a device that provides the illusion of enlarged male genitalia).

ROA.1465, 1468-69. Woodlands Pride’s representative suggested that different
types of “dancing,” including a Conga line or “twerk[ing],” might be barred by
S.B. 12. ROA.1547-48; see also ROA.1525-26.

    None of this conduct even “arguably,” Turtle Island, 65 F.4th at 217, violates
S.B. 12’s discrete prohibition on “sexually oriented performances” in the presence
of minors because S.B. 12 does not ban dancing while in costume. For example,

Plaintiffs offered no evidence that their costuming and dancing is undertaken in the
“nude,” Tex. Penal Code § 43.28(a)(2)(A)(i), meaning “entirely unclothed” or
“clothed in a manner that leaves uncovered or visible . . . any portion of the breasts

below the top of the areola of the breasts, if the person is female, or any portion of
the genitals or buttocks,” Tex. Bus. & Com. Code § 102.051(1). Likewise, not even
Plaintiffs have asserted that the dancing or costuming in which they wish to engage
qualifies as an (1) “exhibition or representation of sexual acts . . . including vaginal
sex, anal sex, and masturbation”; (2) “exhibition of a device designed and marketed
as useful primarily for the sexual stimulation of male or female genitals”; or (3) “sim-

ulated contact occurring between one person and the buttocks, breast, or any part of
the genitals of another person.” Tex. Penal Code § 43.28(a)(1)(A), (C), (D).
    Plaintiffs have previously argued that dancing while using “accessories or pros-
thetics” such as “packers” or “breast plates” might be considered “sexual gesticu-
lations” or an “exhibition” of “male or female genitals in a lewd state, including a
state of sexual stimulation or arousal” in violation of Texas Penal Code section

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43.28(a)(1)(B) and (E). See Doc. 55 at 10-11. But Plaintiffs’ witnesses expressed a
desire only to dance in Conga lines, “shimmy[] their shoulders,” “twist[]” and

“shak[e],” do the “splits” and “body waves” (defined as “dancing to the music, to
the rhythm”), or “twerk.” ROA.1389, 1390, 1396, 1400, 1525, 1547-48. Plaintiffs
have never explained how these routines could be considered “sexual gesticula-

tions”—at least without defining all types of “dancing” as inherently sexual.
    Nor does Plaintiffs’ proposed interpretation comport with the plain meaning of
“sexual gesticulation.” Though undefined in S.B. 12, the plain meaning of that

phrase, derived from “dictionary definitions,” Jaster v. Comet II Const., Inc., 438
S.W.3d 556, 563 (Tex. 2014), is “an expressive gesture made in showing strong feel-
ing or in enforcing an argument,” Gesticulation, Merriam-Webster’s Collegiate Dic-

tionary 525 (11th ed. 2003), “of, relating to, or associated with sex,” id. at 1141. Yet
Plaintiffs repeatedly testified that their performances and dancing are not sexual in
nature, ROA.1391-92, 1466, 1544-45, 1581-82, so to the extent that dancing in Conga
lines, doing the splits, shimmying one’s shoulders, or twerking qualify as “gesticu-
lations,” they are not, by Plaintiffs’ own admission, sexual gesticulations because
they are not “of, relating to, or associated with sex,” Merriam-Webster’s, supra at

1141.
    Nor have Plaintiffs tried to reconcile their trial testimony with the argument that
the use of “packers” might be considered to be a representation or exhibition of
“male . . . genitals in a lewd state, including a state of sexual stimulation or arousal.”
Tex. Penal Code § 43.28(a)(1)(B). The term “lewd” is a commonplace, New York v.
Ferber, 458 U.S. 747, 765 (1982), if undefined term whose “plain meaning” is

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“obscene or indecent; tending to moral impurity or wantonness,” State v. Bolles, 541
S.W.3d 128, 138 (Tex. Crim. App. 2017). But Plaintiffs’ testimony was unequivocal

that “packers” are not “intended to simulate an erection,” are not “worn on the
outside of clothing,” ROA.1469, and are used merely to enhance the “illusion” of a
particular “gender or a character.” ROA.1390-91, 1410-11, 1453, 1469. Because

“packers” are a subtle, concealed component of certain performers’ costuming,
ROA.1469—not a conspicuous, animating feature of any performance—it is hard to
see how their use in this manner could meet the plain meaning of the term “lewd.”

See Bolles, 541 S.W.3d at 138. That is, use of “packers” may be provocative (partic-
ularly in some quarters), but the trial record does not indicate that use of “packers”
is “grossly repugnant to the generally accepted notions of what is appropriate,” Ob-

scene, Black’s Law Dictionary 1295 (11th ed. 2019), or “grossly improper or offen-
sive,” Lewd, Merriam-Webster’s, supra at 632.
    3. 360 Queen and Bandit—who do promote or perform adult-oriented “drag
shows” that include lap dances, spanking, touching the performer’s bosom, and re-
vealing clothing, e.g., ROA. 1430, 1442-43, 1576, 1580-81, 1582—offer a different
concern than the other three plaintiffs. They worry that their already age-restricted

shows might be unwittingly viewed by a minor who briefly passes through the venue
or observes the performance from off-premises, leading Plaintiffs to violate S.B. 12.
See ROA.1415-17, 1424, 1425-26, 1434, 1436-37, 1440-41, 1571, 1578-79. Not so.
    S.B. 12 proscribes only “sexually oriented performance[s]” “in the presence
of” minors. Tex. Health & Safety Code § 769.002(a). But Plaintiffs’ adult-themed
shows could not be fairly considered “in the presence of” minors who may

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unwittingly witness them from afar, for at least two reasons. First, the ordinary mean-
ing of “presence” denotes “[c]lose physical proximity coupled with awareness.”

Black’s, supra at 1432; Merriam-Webster’s, supra at 982 (“the part of space within
one’s immediate vicinity”); accord United States v. Edwards, 231 F.3d 933, 934-37
(5th Cir. 2000); United States v. Navarro, 169 F.3d 228, 236 (5th Cir. 1999). Yet the

type of exposure that 360 Queen and Bandit hypothesize does not involve “close
physical proximity” but, instead, vantage points from distant off-premises venues
such as neighboring restaurants, ROA.1415, parking lots, ROA.1419, 1423, 1424,

public sidewalks, ROA.1424, 1571, 1578-79, and even hotel rooms with the aid of bin-
oculars, ROA.1571. For the same reason, 360 Queen’s performances on the patio of
a restaurant would not rightly be considered in the “close” or “immediate” prox-

imity of a minor who happens to glimpse that show from a different, interior portion
of the restaurant separated from the patio by “one long, consecutive wall” of win-
dows, ROA.1415, 1424.
    Second, the sort of unwitting and unintentional exposure that Plaintiffs describe
would not meet S.B. 12’s implied mens rea requirement. S.B. 12 uses a Penal Code
definition of “sexually oriented performance.” Tex. Penal Code § 43.28(b)(1)-(2).

And under Texas criminal law, that definition implicitly requires, at minimum, a
mens rea of criminal negligence. See Tex. Penal Code § 6.02(a)-(b). Because “crimi-
nal negligence” in this context would involve the “failure to perceive” “a substantial
and unjustifiable risk” of exposure to minors, id. § 6.03(d), it would not encompass
the type of inadvertent or fleeting exposure of minors to sexually oriented perfor-
mances that Plaintiffs posit.

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    That remains true with respect to the section of S.B. 12 that the Attorney Gen-
eral civilly enforces. That section incorporates the Penal Code “meaning” of “sex-

ually oriented performances” into the civil-penalty provision. Tex. Health & Safety
Code § 769.001(2). “[A]s Justice Frankfurter colorfully put it, ‘if a word is obviously
transplanted from another legal source, whether the common law or other legisla-

tion, it brings the old soil with it.’” Sekhar v. United States, 570 U.S. 729, 733 (2013)
(quoting Felix Frankfurter, Some Reflections on the Reading of Statutes, 47 Colum. L.
Rev. 527, 537 (1947)). Because the Legislature expressly determined that the “mean-

ing,” Tex. Health & Safety Code § 769.001(2), of the Penal Code definition of “sex-
ually oriented performances” should be fully incorporated into the civil portion of
the statute, the criminal mens rea, which is an indispensable component, “comes

with it” as “part of the package.” Hansen, 599 U.S. at 778-79.
    4. For similar reasons, none of the Plaintiffs can fall back on the argument that
S.B. 12 will be enforced against them for unintentional conduct, such as inadvertent
“wardrobe malfunctions,” ROA.1392, 1408, and “accidental” physical contact,
ROA.1465. For one, even a performer whose clothing malfunctions would not likely
be “entirely unclothed,” Tex. Bus. & Com. Code § 102.051(1)(A), and none of the

wardrobe malfunctions Plaintiffs described at trial fits that definition, see ROA.1392,
1408, 1430, 1582-83. For another, accidental wardrobe malfunctions that expose “any
portion of the breasts below the top of the areola” or “any portion of the genitals or
buttocks,” do not constitute “nudity” within the meaning of S.B. 12 because—as
with the use of the term “presence”—the statute incorporates an element of intent
for such nudity through its requirement that a sexually oriented performance

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“feature[]” a performer who is nude. Tex. Penal Code § 43.28(a)(2)(A)(i). A visual
performance that “features,” id., something “give[s] special prominence to” that

attribute. Merriam-Webster’s, supra at 458. But here, Plaintiffs’ concern is a ward-
robe malfunction that is, by definition, not “feature[d]” as part of the “visual perfor-
mance” but instead an aberration. For similar reasons, accidental physical contact

that might otherwise meet one of the definitions of “sexual conduct,” e.g., Tex. Pe-
nal Code § 43.28(a)(1)(D), is not “feature[d]” as part of a “visual performance.”
    5. Finally, to the extent there were room for debate about whether certain it-

erations of Plaintiffs’ dancing and costuming meets the definition of “sexual con-
duct,” the conduct Plaintiffs identified at trial still would not violate S.B. 12 be-
cause—by their own account—Plaintiffs’ theatrical drag shows are not intended to

“appeal[] to the prurient interest” in sex. Tex. Penal Code § 43.28(a)(2)(B). The
Supreme Court has explained that the phrase “prurient interest” means “material
having a tendency to excite lustful thoughts.” Roth v. United States, 354 U.S. 476,
487 n.20 (1957). That is, “[m]aterial appeals to the prurient interest . . . only if it is
in some sense erotic.” Ashcroft v. ACLU, 535 U.S. 564, 579 (2002). And Black’s Law
Dictionary defines “prurient” as “[c]haracterized by, exhibiting, or arousing inap-

propriate, inordinate, or unusual sexual desire; having or showing too much interest
in sex.” Black’s, supra at 1482. But once again, Plaintiffs have repeatedly disclaimed
that their performances are sexual in nature, ROA.1392, 1441, 1466, 1544-45, 1581-
82, let alone that they are characterized by eroticism or “inappropriate, inordinate,
or unusual sexual desire.” And because Plaintiffs’ conduct—by their own



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description—is not “arguably proscribed by statute,” Plaintiffs lack a cognizable in-
jury-in-fact for this pre-enforcement challenge. Turtle Island, 65 F.4th at 215-16.

   B. Plaintiffs’ injuries are not fairly traceable to the Attorney General.
    Even if Plaintiffs had identified a cognizable injury-in-fact, their claims inde-

pendently falter because Plaintiffs have failed to offer any evidence that their hypo-
thetical injury is “fairly traceable to the challenged action of the” Attorney General,
“not the result of the independent action of some third party not before the court.”

E.T. v. Paxton, 41 F.4th 709, 718 (5th Cir. 2022) (quoting Lujan, 504 U.S. at 560).
The Attorney General can only enforce S.B. 12 by seeking injunctive relief or civil
penalties against “[a] person who controls the premises of a commercial enterprise”
and “allow[s] a sexually oriented performance to be presented on the premises in the
presence of” a minor. Tex. Health & Safety Code § 769.002(a); see id. § 769.002(c)-
(f). But because no Plaintiff offered evidence at trial that it (or she) “controls the
premises of a commercial enterprise,” any injury Plaintiffs might suffer from
S.B. 12’s enforcement would not result from enforcement by the Attorney General,
but, if at all, from county or local prosecutors who may enforce other sections of

S.B. 12 against them. See, e.g., Tex. Loc. Gov’t Code § 243.0031(c); Tex. Penal Code
§ 43.28(c).
    Although S.B. 12 does not define the term “control,” common dictionary defi-

nitions define it to mean “[t]o exercise power or influence over,” Black’s, supra
at 416, “[t]o regulate or govern,” id., or “to exercise restraining or directing influ-
ence over,” Merriam-Webster’s, supra at 272. That term stands in contrast to the
verb “allow,” which the statute also uses and typically means “[t]o give consent to.”

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Black’s, supra at 96. The use of both terms in close proximity indicates that the Leg-
islature used “control” to reflect the type of discretion over how to use the premises

exercised by the owners or proprietors of commercial venues, who might “allow” a
temporary occupant to stage a “drag show.” Cf. Brown v. City of Houston, 660
S.W.3d 749, 756 (Tex. 2023) (“This series of seemingly similar verbs provided the

first textual indication that, at least in this context, words like ‘bring’ or ‘brought’
were not simply interchangeable with others like ‘initiate’ or ‘commence.’”).
    The testimony at trial demonstrated that though Plaintiffs may be “allowed” to

use commercial premises, they do not exercise “control” over them. For example,
Extragrams serves as a middleman between independent-contractor performers and
customers wishing to host “drag shows” at their “houses, places of work, [and]

companies.” ROA.1375-76, 1397-98. Extragrams’s representative admitted at trial
that if “we . . . go to someone’s house and we’re doing a party,” “[t]here’s just no
control over that.” ROA.1388. Similarly, 360 Queen books “drag queens” to per-
form on the patio of a bar in San Antonio that a third party owns. ROA.1413. Alt-
hough that owner is the father of one of 360 Queen’s founders, the company has only
an unspecified “agreement with the restaurant” to use the patio on days when “drag

shows” will take place. ROA.1413-15. The evidence offered at trial reflects that the
restaurant continues to “control” the premises, including supplying food service,
waitstaff, and bussers. ROA.1415-16, 1431, 1438-39.
    In the past, Abilene Pride has held “drag brunches” in “a locally owned coffee
shop” that allowed the organization to use “their space on Sundays when they were
normally closed.” ROA.1452. Assuming this occasional use continues, Abilene Pride

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is (at most) a “business invitee” of the coffee shop. See Lechuga v. S. Pac. Transp.
Co., 949 F.2d 790, 794-96 (5th Cir. 1992) (per curiam). The shop’s owner—not Ab-

ilene Pride—retains “control” over the premises, including the “right to exclude,”
Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2072 (2021), subject to prevailing
public-accommodations laws, see Hurley v. Irish Am. Gay, Lesbian & Bisexual Grp. of

Bos., 515 U.S. 557, 571-72 (1995). Woodlands Pride’s past events at “local coffee
shops,” ROA.1512, fail to establish control of those premises for the same reason.
And although Woodlands Pride’s representative testified about possible future plans

to host drag performances at a car dealership, ROA.1513, its representative rightly
conceded that any such hypothetical future “control” would be limited to “ticket
sales” for the purposes of fundraising, ROA.1538. As with Extragrams, Woodlands

Pride’s representative admitted: “we don’t own the premises[,] so we don’t have
control.” ROA.1539.
    Finally, Bandit performs in “drag shows” at “21-and-up” nightclubs and some-
times at all-ages “drag brunches.” ROA.1566-67. Consistent with the testimony of
the other Plaintiffs, the trial evidence reflects that Bandit is an independent contrac-
tor and cannot be sure of who is in the audience. As she explained, “[s]ometimes

clubs” or other “venues” make exceptions about whether to admit underage per-
sons. ROA.1569-70. Bandit also explained that “some venues that have hired me re-
cently have also had to hire personal security for their space during the event.”
ROA.1584 (emphasis added). And Bandit’s fear about S.B. 12 taking effect is that
the venues will choose not to host her drag shows, ROA.1584—a problem that would
not exist if Bandit controlled the premises.

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    Because none of the Plaintiffs controls any commercial premises, they fall out-
side the scope of the Attorney General’s enforcement authority. See Tex. Health &

Safety Code § 769.002(a). Any injury Plaintiffs might have suffered is thus not trace-
able to the Attorney General, and this Court lacks jurisdiction over Plaintiffs’ claims
against the Attorney General.1

II. S.B. 12 Does Not Violate the First Amendment.
    Even if Plaintiffs had established jurisdiction to sue the Attorney General,

S.B. 12 is fully consistent with the First Amendment. Its regulation of “sexually ori-
ented performances” does not impinge on any conduct that the First Amendment
protects. And even if it did, S.B. 12’s age-limitation requirement would be subject
to—and survive—intermediate scrutiny as a content-neutral regulation of the “man-
ner” or “place” of sexually oriented performances. The district court’s further con-
clusions that portions of S.B. 12 are unconstitutionally vague and operate as a prior
restraint are similarly flawed—particularly in the context of a facial pre-enforcement
challenge.




    1
     For similar reasons, Plaintiffs’ claims against the Attorney General run afoul of
sovereign immunity. For a state official to be a proper defendant in a suit seeking
injunctive relief under Ex parte Young, that official “must have ‘some connection with
the enforcement of the [challenged] act.’” Texas All. for Retired Ams. v. Scott, 28
F.4th 669, 672 (5th Cir. 2022) (quoting Ex parte Young, 209 U.S. 123, 157 (1908)).
Here, Plaintiffs have shown no such enforcement connection between themselves
and the Attorney General.

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   A. S.B. 12’s regulation of “sexually oriented performances” does not
      infringe any “inherently expressive” conduct.
    To start, S.B. 12 does not implicate the First Amendment’s Free Speech Clause,
which forbids the government to “restrict expression because of its message, its
ideas, its subject matter, or its content.” Reed v. Town of Gilbert, 576 U.S. 155, 163
(2015). This prohibition extends not only to laws “telling people what they must
say,” but also to certain “conduct that is inherently expressive.” FAIR, 547 U.S. at

61, 66. “[O]nly conduct that is ‘inherently expressive’ is entitled to First Amend-
ment protection.” Nat’l Press Photographers Ass’n v. McCraw, 84 F.4th 632, 648 &
n.70 (5th Cir. 2023) (quoting Voting for Am., Inc. v. Steen, 732 F.3d 382, 388 (5th Cir.
2013)). Sexually oriented performances of the type that S.B. 12 regulates are not such
conduct.
    “For activities to constitute expressive conduct and fall within the scope of the
First Amendment, they must be ‘sufficiently imbued with elements of communica-
tion.’” Cabrol v. Town of Youngsville, 106 F.3d 101, 109 (5th Cir. 1997) (quoting
Spence v. Washington, 418 U.S. 405, 409 (1974) (per curiam)). At the same time, the

Supreme Court has consistently “rejected the view that ‘conduct can be labeled
“speech” whenever the person engaging in conduct intends thereby to express an
idea.’” FAIR, 547 U.S. at 65-66 (citing O’Brien, 391 U.S. at 376). Indeed, “[i]f com-

bining speech and conduct were enough to create expressive conduct, a regulated
party could always transform conduct into ‘speech’ simply by talking about it.” Id.
at 66. To decide “whether particular conduct possesses sufficient communicative

elements to bring the First Amendment into play,” courts “ask whether an intent to



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convey a particularized message was present and whether the likelihood was great
that the message would be understood by those who viewed it.” Cabrol, 106 F.3d at

109 (citing Texas v. Johnson, 491 U.S. 397, 404 (1989)).
    Plaintiffs failed to demonstrate that the “sexual conduct” covered by S.B. 12
regulates any such inherently expressive actions. On its face, the statute regulates

pure conduct: nudity and five carefully defined acts of “sexual conduct,” including
the “exhibition or representation” of various sexual acts, organs, toys or “gesticula-
tions.” Tex. Penal Code § 43.28(a). Plaintiffs nowhere explain how this pure con-

duct is “imbued with elements of communication,” Cabrol, 106 F.3d at 109 (quoting
Spence, 418 U.S. at 409), much less identify any “particularized message” that
“would be understood by those who viewed it,” id. (citing Johnson, 491 U.S. at 404).

    The district court nonetheless concluded that the statute regulates conduct that
the First Amendment protects based on the theory that S.B. 12 regulates “drag
shows,” which the court concluded contain “multiple messages and expressive pur-
poses.” ROA.1274-78. That conclusion is based on a false premise: that S.B. 12 reg-
ulates “drag shows.” At trial, Plaintiffs defined “drag shows” as a “theatrical” per-
formance involving “the overdramatization of a character or a gender,” often con-

cerning “celebrity lookalikes,” ROA.1374-75, and which “[t]ypically” involve
“dancing, lip syncing, engaging with the audience by hugging, kissing on the cheek,
sometimes bumping hips.” ROA.1451. Regardless of whether some such dance per-
formances might constitute “inherently expressive” conduct protected by the First
Amendment, S.B. 12 does not prohibit the “drag shows” that Plaintiffs identified.
Supra at 11-20. Instead, what is regulated by S.B. 12 are several discrete categories of

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highly “sexual conduct” that apply to all types of “visual performances,” not drag
shows in particular. Tex. Penal Code § 43.28(a)(1)-(2) (emphasis added).

    Similarly, according to Plaintiffs, their performances may convey several varied
messages, including challenging “gender norms and expectations,” ROA.1564-65;
“[c]ommunity,” ROA.1447; a “nexus of belonging,” ROA.1451; “representation,”
ROA.1459-60; “a message of strength,” ROA.1515; “comedic entertainment or se-
rious entertainment,” ROA.1515-16; “solidarity with . . . the LGBT+ community,”
ROA.1516; and various messages of “social justice,” ROA.1432-33. But neither
Plaintiffs nor the district court even explain how such “messages of celebration,
equality, and acceptance” or “messages of a political and social justice nature,”
ROA.1274, might apply equally to the highly sexualized performances that S.B. 12
regulates. For example, Plaintiffs did not even try to say what “particularized mes-
sage,” Cabrol, 106 F.3d at 109, of “social justice,” ROA.1432-33, is sent by “the
exhibition or representation . . . of sexual acts, including vaginal sex, anal sex, and
masturbation,” Tex. Penal Code § 43.28(a)(1)(A), or through “actual contact or
simulated contact occurring between one person and the buttocks, breast, or any part
of the genitals of another person,” id. § 43.28(a)(1)(D).

    Here, to be expressive the sexual conduct that S.B. 12 regulates would, at min-
imum, need to be “accompanied . . . with speech explaining it.” FAIR, 547 U.S. at
66. After all, Plaintiffs’ audience members would “ha[ve] no way of knowing
whether,” id., for example, “the exhibition of a device designed and marketed as
useful primarily for the sexual stimulation of male or female genitals,” Tex. Penal
Code § 43.28(a)(1)(C), is for the purpose of hawking that product, commenting on

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its utility, challenging gender norms, or something else entirely. But “[t]he fact that
such explanatory speech is necessary is strong evidence that the conduct at issue here

is not so inherently expressive that it warrants protection.” FAIR, 547 U.S. at 66.
And because Plaintiffs bore the burden of proof that the conduct regulated by S.B. 12
was inherently expressive, their failure to offer such evidence dooms their First

Amendment claim. See Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288, 293
n.5 (1984).

    B. S.B. 12 survives any level of constitutional scrutiny.
    Even if S.B. 12’s regulation of “sexually oriented performances” implicates the
First Amendment, it satisfies any level of constitutional scrutiny. Because S.B. 12’s
central feature imposes modest age limitations for attendance at sexually oriented
performances, it is a “manner” or “place” restriction that easily passes intermediate
scrutiny as a reasonable effort to regulate the deleterious secondary effects of expo-
sure of minors to sexually explicit conduct. Indeed, even if strict scrutiny applies,
S.B. 12 would survive because it is a narrowly tailored regulation aimed at meeting
the State’s compelling interest in safeguarding the physical and psychological well-

being of minors. It also speaks in terms that are easily definitive enough to provide
constitutionally sufficient notice and that do not act as a prior restraint.

         1.   S.B. 12’s age-limit requirement is subject to, at most, intermediate
              scrutiny—which it easily passes as a content-neutral “manner” or
              “place” restriction.
    To the extent that the sexually oriented performances S.B. 12 regulates could
qualify for some level of First Amendment protection as “inherently expressive”



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conduct, S.B. 12’s age-limitation restriction passes the applicable, intermediate level
of scrutiny. Determining the appropriate level of scrutiny turns on “whether the gov-

ernment’s predominate purpose in enacting the regulation is related to the suppres-
sion of expression itself.” Fantasy Ranch, Inc. v. City of Arlington, 459 F.3d 546, 554
(5th Cir. 2006) (citing City of Erie v. Pap’s A.M., 529 U.S. 277, 289 (2000) (plurality

op.)). “If the government’s interest is indeed related to the suppression of content,
then that regulation of symbolic speech is subject to strict scrutiny.” Id. (citing John-
son, 491 U.S. 397). But if “the government’s predominate purpose is unrelated to

the suppression of expression, such that the regulation can be ‘justified without ref-
erence to the content of the regulated speech,’ then intermediate scrutiny applies.”
Id. (quoting Clark, 468 U.S. 288) (citing O’Brien, 391 U.S. 367). The district court

applied strict scrutiny because it concluded that S.B. 12 was either content-based or
viewpoint-discriminatory. But S.B. 12 is neither.
    a. To start, the district court wrongly held that S.B. 12 is a “content-based”
restriction on expressive activity on the ground that it “targets conduct deemed to
be ‘sexual[ly] oriented.’” ROA.1280. “A regulation of speech is facially content
based under the First Amendment if it ‘target[s] speech based on its communicative

content’—that is, if it ‘applies to particular speech because of the topic discussed or
the idea or message expressed.’” City of Austin v. Reagan Nat’l Advert. of Austin,
LLC, 596 U.S. 61, 69 (2022) (quoting Reed, 576 U.S. at 163). But the Supreme Court
has “reject[ed] . . . the view that any examination of speech or expression inherently
triggers heightened First Amendment concern.” Id. at 73. “Rather, it is regulations



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that discriminate based on ‘the topic discussed, or the idea or message expressed’
that are content based.” Id. at 73-74 (quoting Reed, 576 U.S. at 171).

    Conversely, “[a] regulation that serves purposes unrelated to the content of ex-
pression is deemed neutral, even if it has an incidental effect on some speakers or
messages but not others.” Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989)

(citing Renton, 475 U.S. at 47-48). Thus, “[g]overnment regulation of expressive ac-
tivity is content neutral so long as it is ‘justified without reference to the content of
the regulated speech.’” Id. (citing Clark, 468 U.S. at 293).

    Applying these standards here, S.B. 12’s age-limitation for sexually oriented per-
formances can be “‘justified without reference to the content of the regulated
speech,’” id.—namely the “secondary effects” of such performances, Fantasy

Ranch, 459 F.3d at 554-55. That is, even if one must “examin[e],” Reagan Nat’l, 596
U.S. at 73, these performances to determine whether they involve any “sexual con-
duct” or nudity, Tex. Penal Code § 43.28(a)(2)(A), the age-limitation requirement
does not discriminate against “the topic discussed[,] or the idea or message ex-
pressed,” Reagan Nat’l, 596 U.S. at 74—“even if it has an incidental effect on some
speakers or messages but not others,” Ward, 491 U.S. at 791. Instead, its “predom-

inate concern is for secondary effects” of the regulated First Amendment conduct,
“not the suppression of symbolic expression.” Fantasy Ranch, 459 F.3d at 556. In-
deed, it is well established that “‘a distinction may be drawn between adult [busi-
nesses] and other kinds of [businesses] without violating the government’s para-
mount obligation of neutrality,’ when the government seeks to regulate only the sec-
ondary effects of erotic speech, and not the speech itself.’” Id. (quoting Deja Vu of

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Nashville, Inc. v. Metro. Gov’t of Nashville & Davidson Cnty., 274 F.3d 377, 391 (6th
Cir. 2001)). For that reason, “[r]egulations on sexually oriented businesses are

nearly always reviewed under intermediate scrutiny as content-neutral regulations.”
BBL, Inc. v. City of Angola, 809 F.3d 317, 325 (7th Cir. 2015).
    Here both the evidence “presented to the enacting officials” and the evidence

“produced at the time of trial,” Doe I v. Landry, 909 F.3d 99, 110 (5th Cir. 2018),
demonstrate that S.B. 12 is aimed at combatting the secondary effects of exposure of
minors to sexually explicit content. That is, S.B. 12’s age-limitation requirement

seeks to guard against downstream effects that may manifest later in time, such as
possible criminal and antisocial behavior and sexual deviancy. For example, the Sen-
ate Committee on State Affairs heard testimony that “research has proven time and

time again” that “exposing kids to very sexual content at an early age,” like the sex-
ually oriented performances S.B. 12 regulates, “leads to a lot of issues later on in life,
including becoming violent, facing problems with intimacy, and even dysfunction
later on in life.” See Senate Hearing, supra at 1:04:15-32. Indeed, the Senate heard
testimony that the effects of exposure at an early age to the types of performances
regulated by S.B. 12 “do[n’t] go away,” may persist “for decades,” and constitute

a “traumatic experience” for some. Id. at 1:07:25-58. And witnesses even invoked
the “common sense” point that “sexually oriented entertainment” should be “lef[t]
. . . for adults.” Id. at 59:23-56, 1:00:19-37.
    The Attorney General’s expert witness attempted to testify at trial that exposure
of minors to sexually explicit performances of the kind regulated by S.B. 12—for ex-
ample, a performer flashing his anus or her breasts to minors, simulating

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masturbation with a prosthetic penis, or allowing “a young child [to] stroke[] the
genitals of a drag performer dressed as a little mermaid,” ROA.1500-02—is “not

appropriate for them developmentally.” ROA.1504. He testified that because mi-
nors’ “behavior is shaped by experience and by copying behavior,” their “cogni-
tive[] and emotional[] immatur[ity]” may lead them to reenact such behavior in

other locales. ROA.1501. And such conduct may lead to various “interpersonal[]
[and] social[]” problems, ROA.1501, including “chronic masturbation,” “sexual de-
viance,” ROA.1504, “rejection,” a “sexual[] preoccupation for some that are sen-

sation seeking,” and even “exploit[ation].” ROA.1501-02. He further opined that,
in his “professional experience,” he has “observe[d] that individuals who lacked
healthy interpersonal relationships and who were exposed to explicit sexual content

and who experienced brief sexual/emotional pleasure engaging in these similar sex-
ual activities . . . struggled with personal worth, anxiety, depression, substance abuse
and sexual deviance.” ROA.758.
    The district court abused its discretion when it excluded such testimony on “rel-
evance” grounds after permitting the Attorney General to make a ten-minute “offer
of proof.” ROA.1496-1506. The relevancy standard is “low”: “evidence is relevant

if it has ‘any tendency to make the existence of any fact that is of consequence to the
determination of the action more probable or less probable than it would be without
the evidence.’” Hicks-Field v. Harris County, 860 F.3d 803, 809 & n.17 (5th Cir.
2017) (citing Fed. R. Evid. 401). The district court’s conclusion that the Attorney
General’s expert’s testimony was irrelevant was driven by a fundamental legal error:
the court’s conclusion that the secondary-effects doctrine only “applies to zoning

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regulations on sexually oriented businesses.” ROA.1285. But as this Court recently
recognized, the secondary-effects doctrine applies far more broadly than just to zon-

ing regulations. See, e.g., Ass’n of Club Execs of Dall., Inc. v. City of Dallas, 83 F.4th
958, 963 & n.3 (5th Cir. 2023) (collecting cases); see also Pap’s A.M., 529 U.S. at 295.
Indeed, it applies to regulations targeting the “adverse secondary effects produced

by . . . adult entertainment.” Baby Dolls Topless Saloons, Inc. v. City of Dallas, 295
F.3d 471, 481 (5th Cir. 2002). The presentation of sexually oriented performances of
the type S.B. 12 regulates qualifies “adult entertainment” and is thus subject to this

test.
    b. For related reasons, the district court also erred by holding that S.B. 12 dis-
criminates “based on viewpoint.” ROA.1284-85. As an initial matter, because view-

point discrimination is a “form of content discrimination,” Rosenberger v. Rector &
Visitors of Univ. of Va., 515 U.S. 819, 829 (1995), this argument fails because S.B. 12’s
regulation of sexually oriented performances is “justified without reference to the
content.” Supra at 28-31. Regardless, the district court was wrong to conclude that
S.B. 12 discriminates based on viewpoint on the ground that one of the five defini-
tions of “sexual conduct” is “directed at the specific act of impersonating or exag-

gerating a sex other than the one a performer is assigned.” ROA.1285.
    To start, the district court misread this definitional provision: it does not define
dressing up as or impersonating the opposite sex as such to be sexual conduct; in-
stead, it defines sexual conduct to include “the exhibition of sexual gesticulations us-
ing accessories or prosthetics that exaggerate male or female sexual characteristics.”



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Tex. Penal Code § 43.28(a)(1)(E). The subject of this definition is “the exhibition of
sexual gesticulations”—not dressing up or impersonating the opposite sex.

    Moreover, the district court failed to identify what “viewpoint,” if any, such
sexual gesticulations might convey and what message S.B. 12 discriminates against.
The district court obliquely suggested that S.B. 12 discriminates against a viewpoint

related to the propriety of staging “drag shows.” ROA.1285. But Plaintiffs testified
at trial that their “drag shows” convey a multiplicity of messages, supra at 26—a
concession that is more than sustained by historical experience.2

    In any event, it was legal error to consider S.B. 12 viewpoint discriminatory
based entirely on “legislative history and public statements by legislators.”
ROA.1285. In O’Brien, the Supreme Court concluded that such a free-floating in-

quiry into legislative purpose has no proper place in a First Amendment analysis,
holding that “[i]nquiries into congressional motives or purposes are a hazardous
matter,” particularly where a court is “asked to void a statute that is, under well-
settled criteria, constitutional on its face, on the basis of what fewer than a handful
of Congressmen said about it.” 391 U.S. at 383-84; accord Brnovich v. Democratic
Nat’l Comm., 141 S. Ct. 2321, 2350 (2021). That is because “[w]hat motivates one



    2
      For example, in 1943, future President Ronald Reagan starred in This Is The
Army, which featured a show in which several members of the military danced and
sang a song comparing being drafted into the army to being drafted into a female
chorus. See This Is The Army, YouTube, http://tinyurl.com/nhcmwczm (last ac-
cessed Jan. 9, 2024). That movie undoubtedly has a viewpoint; it bears no resem-
blance to the putative messages of Plaintiffs’ shows that the district court high-
lighted. ROA.1274; see also supra at 26.

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legislator to make a speech about a statute is not necessarily what motivates scores
of others to enact it.” O’Brien, 391 U.S. at 384; see also Exxon Mobile Corp. v. Allapat-

tah Servs., Inc., 545 U.S. 546, 568 (2005). Thus, it is well established that courts “will
not strike down an otherwise constitutional statute on the basis of an alleged illicit
motive.” Pap’s A.M., 529 U.S. at 279.

    c. Because S.B. 12’s age limitation is, at most, a content-neutral regulation, it
should be reviewed under intermediate scrutiny, which it easily passes. The O’Brien
test applies in circumstances where a law regulates inherently “expressive conduct.”

FAIR, 547 U.S. at 67-68. It “rests on the principle that “when ‘speech’ and ‘non-
speech’ elements are united in a course of conduct, a valid governmental interest in
regulating the nonspeech element can justify incidental limitations on First Amend-

ment freedoms.” Kleinman v. City of San Marcos, 597 F.3d 323, 328 (5th Cir. 2010).
And “[u]nder O’Brien, a content-neutral regulation is constitutional if [1] it is within
the constitutional power of the government; [2] it furthers an important or substan-
tial governmental interest; [3] the government interest is unrelated to the suppres-
sion of free expression; and [4] the incidental restriction on alleged First Amend-
ment freedoms is no greater than is essential to the furtherance of that interest.” Id.

(citing O’Brien, 391 U.S. at 376). S.B. 12’s age-limitation requirement meets each of
these elements.
    First, S.B. 12 falls comfortably within the constitutional powers of the State.
“[O]rdinances aimed at protecting the health and safety of citizens are squarely
within the [government’s] police powers,” Fantasy Ranch, 459 F.3d at 558 (citing
Pap’s A.M., 529 U.S. at 296), which “confer[] upon the states and local

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governmental units broad regulatory authority over public health, welfare, and mor-
als,” Davidson v. City of Clinton, 826 F.2d 1430, 1433 (5th Cir. 1987) (per curiam).

That is precisely what S.B. 12 does: it protects the public health and safety from the
adverse effects of exposure to age-inappropriate material.
    Second, S.B. 12 also furthers an important or substantial governmental interest

in combatting the deleterious secondary effects of minors’ exposure to sexually ex-
plicit conduct. See supra at 29-31. This prong of the O’Brien test contains “two dis-
tinct questions”: “whether the threatened harm is real” and “whether the regula-

tion furthers that interest.” Fantasy Ranch, 459 F.3d at 558-59. Both questions are
answered using the evidentiary “standard described in” Renton. Id. at 559; see Pap’s
A.M., 529 U.S. at 297 (“[T]he evidentiary standard described in Renton controls

here.”).
    As this Court explained just a few months ago, “very little evidence is required”
for the government to meet its “light burden” to show that a regulation furthers a
substantial government interest under Renton. Ass’n of Club Execs., 83 F.4th at 967
(citing City of L.A. v. Alameda Books, Inc., 535 U.S. 425, 451 (2002) (Kennedy, J.,
concurring in the judgment)). Indeed “a single study and common experience” can

suffice to show that the law is appropriately tailored to address the secondary effects
of adult conduct. Id. at 968. “[A]ll Renton demands is evidence ‘reasonably believed
to be relevant’ to the problem.” Id. (quoting Renton, 475 U.S. at 51). That does not
require the government “to forge an ironclad connection between [sexually oriented
businesses] and secondary effects or to produce studies examining precisely the same
conditions at issue.” Id. Nor does the government need to “rule[] out every theory

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for the link between [sexually oriented businesses and secondary effects] that is in-
consistent with its own.” Id. (quoting Alameda Books, 535 U.S. at 437). “So long as

[the government’s] ‘inferences appear reasonable, [the Court] should not say there
is no basis for its conclusion.’” Id. at 967.
    S.B. 12 easily satisfies this reasonable-belief standard. The testimony presented

to the Legislature included references to research demonstrating the adverse mani-
festations, including antisocial and criminal behavior, that can result from exposure
to highly sexual content at an early age. Supra at 30. The testimony likewise drew on

“common experience.” See Ass’n of Club Execs, 83 F.4th at 968. And if even a “sin-
gle study and common experience” can suffice to meet the government’s burden
under Supreme Court precedent, id., then improperly excluded testimony from the

Attorney General’s expert witness expounding on the adverse outcomes that can
manifest downstream of a minor’s exposure to sexually explicit content is more than
adequate. After all, that showing doesn’t have to be “overwhelming”—only reason-
able. Ctr. for Fair Pub. Pol’y v. Maricopa County, 336 F.3d 1153, 1168 (9th Cir. 2003).3
    Third, Texas’s interest in regulating the secondary effects of minors’ exposure
to sexually explicit conduct is not related to the suppression of expression. As de-

scribed above, S.B. 12’s regulation of sexually oriented performances is “justified


    3
      If the Court nevertheless believes that the evidentiary record is insufficient to
reverse and render, the Court should reverse and remand for further development
of the evidentiary record, due to the district court’s erroneous exclusion of the At-
torney General’s expert witness’s testimony. See Jackson v. Firestone Tire & Rubber
Co., 788 F.2d 1070, 1080, 1090 (5th Cir. 1986) (reversing and remanding due to im-
proper exclusion of relevant evidence at trial).

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without reference to the content” of those performances, but instead is targeted at
curbing their secondary effects. Fantasy Ranch, 459 F.3d at 554; supra at 28-31.

    Finally, any restriction on expressive conduct incident to S.B. 12 is “no greater
than is essential to the furtherance of” the State’s interests. A regulation with inci-
dental burdens on expressive conduct is not invalid “simply because there is some

imaginable alternative that might be less burdensome on speech,” United States v.
Albertini, 472 U.S. 675, 689 (1985). Such a regulation satisfies O’Brien’s fourth prong
“so long as the neutral regulation promotes a substantial government interest that

would be achieved less effectively absent the regulation.” LLEH, Inc. v. Wichita
County, 289 F.3d 358, 369 (5th Cir. 2002) (quoting Albertini, 472 U.S. at 689).
S.B. 12 does so.

    Texas’s interest in regulating the secondary effects of minors’ exposure to sex-
ually explicit conduct, sounding in public health and safety, constitutes a substantial
government interest. See Pap’s A.M., 529 U.S. at 301; Fantasy Ranch, 459 F.3d at 561.
And S.B. 12 does not “ban” sexually oriented performances—it merely imposes a
modest age requirement for attendees. See Tex. Health & Safety Code § 769.002(a);
Tex. Penal Code § 43.28(b)(1)-(2). It therefore leaves open plenty of “reasonable

alternative avenues of communication,” Ass’n of Club Execs., 83 F.4th at 969: S.B. 12
does not close any “avenues of communication” to proprietors of sexually oriented
performances; it only limits which customers can travel down those avenues. Id.




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Taken together, these factors show that S.B. 12 easily survives intermediate scrutiny
under O’Brien.4

         2. S.B. 12’s age-limit requirement would also survive strict scrutiny.
    Even if strict scrutiny applies, S.B. 12’s age-limitation requirement satisfies that
standard because it is narrowly tailored to meet the compelling governmental inter-

est of protecting minors from sexually explicit content. Even the district court rec-
ognized that S.B. 12 serves a “compelling” governmental interest. ROA.1281. For
good reason: the Supreme Court has repeatedly “recognized that there is a compel-
ling interest in protecting the physical and psychological well-being of minors.” Sa-
ble Commcn’s of Cal., Inc. v. FCC, 492 U.S. 115, 126 (1989). And “[t]his interest ex-
tends to shielding minors from the influence of literature that is not obscene by adult
standards.” Id. (citing Ginsberg v. New York, 390 U.S. 629, 639-40 (1968)).
    S.B. 12 is also narrowly tailored to achieving this interest. “A speech restriction
is narrowly tailored to a compelling state interest where it does no more ‘than is nec-
essary to further’ the interest.” Willey v. Harris Cnty. Dist. Att’y, 27 F.4th 1125, 1133-
34 (5th Cir. 2022) (quoting Knowles v. City of Waco, 462 F.3d 430, 435 (5th Cir.
2006)). And the “[t]he ‘essence of narrow tailoring’ is to ‘focus[] on the source of

the evils the [government] seeks to eliminate . . . without at the same time banning


    4
      As this Court has observed, it is somewhat unclear whether content-neutral
regulations on adult-oriented entertainment should be reviewed under “the test for
time, place, or manner regulations, described in” Renton, instead of the four-part test
from O’Brien. LLEH, 289 F.3d at 365. Because the Renton and O’Brien tests “are
interchangeable,” ultimately, there “is little, if any, differen[ce].” Id. at 335-36. And
here, the same result obtains: S.B. 12 is constitutional under intermediate scrutiny.

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or significantly restricting a substantial quantity of speech that does not create the
same evils.” Id. at 1134 (quoting Ward, 491 U.S. at 799 n.4). Thus, the means chosen

to meet the compelling interest must be “neither seriously underinclusive nor seri-
ously overinclusive.” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 805 (2011). S.B. 12
fits this description: it does not involve a “total ban” on sexually oriented perfor-

mances, cf. Sable, 492 U.S. at 127, but instead imposes a modest age limit on attend-
ance at such performances. Cf. FCC v. Pacifica Found., 438 U.S. 726, 744-52 (1978).
    The district court appears to have concluded that S.B. 12’s age-limit require-

ment was not narrowly tailored for three reasons. Each is wrong. First, the court sug-
gested that the age-limit requirement is underinclusive because it does not contain a
parental-consent exception, and “[i]f the state’s compelling concern is to protect

children independent of their parents, a narrowly tailored statute would possibly in-
clude punishments for a parent who takes their child to” such a performance.
ROA.1282-83. But this reasoning ignores that a challenger cannot establish underin-
clusiveness by “point[ing] out that a state did not ‘address all aspects of a problem
in one fell swoop.’” Willey, 27 F.4th at 1134 (quoting Williams-Yulee v. Fla. Bar, 575
U.S. 433, 449 (2015)). Instead, a court “ask[s] whether the restriction is ‘riddled

with exceptions’ or ‘so woefully underinclusive as to render belief in [its stated] pur-
pose a challenge to the credulous.’” Id. (quoting Williams-Yulee, 575 U.S. at 449).
Plaintiffs did not try to make either showing.
    Second, the district court suggested that S.B. 12’s age-limit requirement was also
overinclusive because it does not “distinguish children by the age of a child” and
“treats an older teenager the same as a much younger child.” ROA.1282. Yet as the

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D.C. Circuit has observed in rejecting a similar argument, “most States have laws
penalizing persons who disseminate sexually explicit materials to children ages 17

and under; and several Supreme Court decisions have sustained the constitutionality
of statutes protecting children ages 17 and under.” Action for Children’s Television v.
FCC, 58 F.3d 654, 664 (D.C. Cir. 1995) (en banc). Thus, “[i]n light of Supreme

Court precedent and the broad national consensus that children under the age of 18
need to be protected from exposure to sexually explicit materials” Texas “was fully
justified in concluding that the Government interest extends to minors of all ages.”

Id.
      Third, the district court suggested that S.B. 12 is overinclusive because it “fails
to provide any affirmative defenses, such as consent by a parent or a mistake on the

part of the performer.” ROA.1282. Yet as described above, S.B. 12 does not penalize
regulated parties for inadvertent or accidental conduct. Supra at 18-19. And as the
district court itself recognized, inclusion of a parental-consent exception is not re-
quired for S.B. 12 to be narrowly tailored to achieve the compelling interest of pro-
tecting the physical and psychological well-being of minors. See ROA.1282-83. Per-
haps it would be if Plaintiffs were asserting a purported constitutional right for par-

ents to admit their children to sexually oriented performances, but Plaintiffs cham-
pion no such right—likely because they would not have standing to do so.

          3. S.B. 12’s age-limit requirement is not unconstitutionally vague.
      Plaintiffs are also wrong to argue that several of S.B. 12’s definitions are void for
vagueness. Such a claim, sounding in the Due Process Clause, requires Plaintiffs to
show that the law “fails to provide those targeted by the statute a reasonable

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opportunity to know what conduct is prohibited.” Doe I, 909 F.3d at 116. But even
when speech is involved, a law need not “delineate the exact actions a [person]

would have to take to avoid liability,” id. at 118, or give “perfect clarity and precise
guidance,” Minn. Voters All. v. Mansky, 138 S. Ct. 1876, 1891 (2018). “[O]nly a rea-
sonable degree of certainty is required” to survive a vagueness challenge. United

States v. Tansley, 986 F.2d 880, 885 (5th Cir. 1993).
    In holding that S.B. 12 does not comply with these standards, the district court
pointed to two terms that it found vague: “prurient interest in sex” and “lewd.”

ROA.1290-91. But “the common understanding of the term[s] supplies a clear
enough standard,” Doe I, 909 F.3d at 117, particularly given years of accumulated
precedent, Hansen, 599 U.S. at 778. “Prurient interest in sex” is a legal term of art

whose meaning has been developed over decades. Roth, 354 U.S. at 487 n.20; see Red
Bluff Drive-In, Inc. v. Vance, 648 F.2d 1020, 1026 (5th Cir. Unit A, June 1981).
“[O]fficial interpretations and the historical application” of this term can shape its
contours and “become limiting constructions”—even if some “discretion [is]
placed in the hands of [enforcement] officials.” Doe I, 909 F.3d at 117 (citing Ward,
491 U.S. at 795-96). The phrase is so common that, in the view of the Texas Court

of Criminal Appeals, it need not even be defined in a jury charge. Andrews v. State,
652 S.W.2d 370, 376-77 (Tex. Crim. App. 1983).
    Likewise, the term “lewd” is “a commonsensical term whose constitutionality
was specifically upheld in Miller v. California, 413 U.S. 15, 25 (1973) and Ferber, 458
U.S. at 765.” United States v. Wiegand, 812 F.2d 1239, 1243 (9th Cir. 1987). Indeed,
Ferber and Miller specifically upheld the constitutionality of that term in the context

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of the phrase “lewd exhibition of the genitals”—a phrase strikingly similar to the
one in S.B. 12. Cf. Tex. Penal Code § 43.28(a)(1)(B). And the Texas courts have spe-

cifically held that “‘lewd’ has a common meaning that jurors can be fairly presumed
to know and apply.” Tovar v. State, 165 S.W.3d 785, 790 (Tex. App.—San Antonio
2005); see also Roise v. State, 7 S.W.3d 225, 242 (Tex. App.—Austin 1999). It is in no

sense unconstitutionally vague.

        4. S.B. 12 does not operate as a prior restraint on any First Amend-
           ment activity.
    Finally, Plaintiffs err by arguing that S.B. 12 operates as a “prior restraint.”
ROA.61. The canonical description of a prior restraint is an “administrative [or] ju-
dicial order[ ] forbidding certain communications when issued in advance of the time
that such communications are to occur.” Cath. Leadership Coal. of Tex. v. Reisman,
764 F.3d 409, 437 (5th Cir. 2014) (citing Alexander v. United States, 509 U.S. 544,

550 (1993)). And prior restraints may also include “speech licensing schemes that
give the licensor too much discretion in how to exercise his authority,” as well as
“regulations that require registration before certain types of speech.” Id.
    No part of S.B. 12 remotely operates in any of these fashions. The district court
held otherwise by pointing to a provision of S.B. 12 that permits municipalities or
counties to “regulate sexually oriented performances as the municipality or county
considers necessary to promote the public health, safety, or welfare,” Tex. Loc.
Gov’t Code § 243.0031(b). ROA.1292-93. Yet the Legislature’s mere grant of au-
thority to local governments to regulate a particular topic does not “forbid” Plain-
tiffs from doing anything, much less require them to obtain prepublication approval


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or a license from any municipal or county actor before engaging in “expressive con-
duct.” Only a later-in-time ordinance passed by a city or county under its section

243.0031(b) power could theoretically constitute a prior restraint. But because sec-
tion 243.0031(b) does not, by itself, regulate Plaintiffs, it cannot operate as a prior
restraint.

    C. Even if some applications of S.B. 12 regulate First Amendment ac-
       tivity, Plaintiffs failed to prove their facial challenge.
    Even if Plaintiffs had shown that some applications of S.B. 12 regulate some type
of “inherently expressive” First Amendment conduct, Plaintiffs failed to prove that
S.B. 12 is facially unconstitutional.
    1. “To put it mildly, pre-enforcement facial challenges to legislative acts are
‘disfavored.’” NetChoice, LLC v. Paxton, 49 F.4th 439, 448 (5th Cir. 2022) (quoting
Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 450 (2008)). In
keeping with the “disfavor” attendant to such challenges, “the legal standard for
them is extraordinarily high,” id. at 449, and “the most difficult . . . to mount suc-
cessfully,” City of El Cenzio v. Texas, 890 F.3d 164, 187 (5th Cir. 2018). Typically, a

plaintiff bringing a facial challenge must “‘establish that no set of circumstances ex-
ists under which the Act would be valid.’” NetChoice, 49 F.4th at 449 (quoting
United States v. Salerno, 481 U.S. 739, 745 (1987)). But in the First Amendment con-

text, the Supreme Court has recognized a second type of facial challenge—the
“overbreadth” doctrine—that requires a plaintiff to show that “a substantial num-
ber of [a law’s] applications are unconstitutional, judged in relation to the statute’s
plainly legitimate sweep.” Id. at 450 (quoting Ams. for Prosperity Found. v. Bonta, 141


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S. Ct. 2373, 2387 (2021)). “To justify facial invalidation, a law’s unconstitutional
applications must be realistic, not fanciful, and their number must be substantially

disproportionate to the statute’s lawful sweep.” Hansen, 599 U.S. at 770. “In the
absence of a lopsided ratio, courts must handle unconstitutional applications as they
usually do—case-by-case.” Id.

    Because the “[o]verbreadth doctrine has a ‘tendency . . . to summon forth an
endless stream of fanciful hypotheticals,’” the Supreme Court has instructed courts
to “avoid ‘speculat[ing] about “hypothetical” or “imaginary” cases’” and instead

focus on “the statute’s facial requirements.” NetChoice, 49 F.4th at 452 (quoting
Wash. State Grange, 552 U.S. at 449-50). “The Court has also instructed that the
overbreadth doctrine is strong medicine that should be employed only as a last re-

sort.” Id.at 450 (quotations omitted).
    2. Plaintiffs cannot prevail on their facial challenge under these “daunting”
standards. Ostrewich v. Tatum, 72 F.4th 94, 107 (5th Cir. 2023). At the outset, Plain-
tiffs do not appear to “dispute that [S.B. 12’s reach] encompasses a great deal of
nonexpressive conduct—which does not implicate the First Amendment at all.”
Hansen, 599 U.S. at 782. Indeed, not even Plaintiffs argue that each of the definitions

of “sexual conduct” in S.B. 12 regulates conduct that is categorically “inherently ex-
pressive.” Instead, the most that Plaintiffs can speculate is that certain hypothetical
applications of the statute’s definition of “sexual conduct” might cover some inher-
ently expressive conduct. But the fact that each of the statute’s definitions of “sexual
conduct” can be constitutionally applied to a whole host of “visual perfor-
mances”—for example, ones involving “the exhibition or representation . . . of

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sexual acts, including vaginal sex, anal sex, and masturbation” or of “male or female
genitals” in “a state of sexual stimulation or arousal,” Tex. Penal Code

§ 43.28(a)(1)(A), (B)—means that “the ‘plainly legitimate sweep’ of [S.B. 12] is ex-
tensive.” Hansen, 599 U.S. at 782. And “in the absence of a lopsided ratio” of un-
constitutional to constitutional applications, Plaintiffs must wait to bring their chal-

lenges as applied. Id. at 770.
    The district court failed to heed these established standards. Instead of focusing
on S.B. 12’s text, the court speculated that S.B. 12’s prohibitions might apply to

“cheerleading, dancing, live theater, and other common public occurrences” and
thereby sweep in “a large amount of constitutionally protected conduct.”
ROA.1288. These are “fanciful,” not “realistic,” applications of S.B. 12, Hansen,

599 U.S. at 770, and S.B. 12’s “language renders implausible many of the[se] . . . ex-
treme hypothesized applications of the law,” NetChoice, 49 F.4th at 452. No evi-
dence at trial even hinted that “cheerleading, dancing, [and] live theater,”
ROA.1288, is typically (or even frequently) performed in the “nude” or that it meets
any of the statute’s definitions of “[s]exual conduct,” Tex. Penal Code
§ 43.28(a)(1).

    Moreover, in the rare case where these commonplace activities might theoreti-
cally involve sexual conduct, they are only proscribed if they “appeal[] to the pruri-
ent interest in sex,” Tex. Penal Code § 43.28(a)(2)(B). Again, the trial record is bar-
ren of any evidence that cheerleading, dancing, and theater generally “appeals to the
prurient interest in sex.” For good reason: cheerleading, dancing, and theater are not
typically thought of as “erotic,” Ashcroft, 535 U.S. at 579, “having a tendency to

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excite lustful thoughts,” Roth, 354 U.S. at 487 n.20, or “[c]haracterized by, exhibit-
ing, or arousing inappropriate, inordinate, or unusual sexual desire.” Black’s, supra

at 1482.
    The district court did not explain why it thought cheerleading, live dancing and
theater would constitute “sexual conduct” based on “the statute’s facial require-

ments.” NetChoice, 49 F.4th at 452. Instead, it focused on the requirement that a
sexually oriented performance “appeal[] to the prurient interest in sex,” Tex. Penal
Code § 43.28(a)(2)(B), and held that it provides no safe harbor from a facial chal-

lenge because it does not incorporate each element of the constitutional test for ob-
scenity, and so “it is hard [to] identify” how that clause will be applied in practice.
ROA.1287-88. But the fact that that S.B. 12’s definition of “sexually oriented per-

formance” does not include each element of the obscenity test is irrelevant where,
as here, the Attorney General is defending S.B. 12’s constitutionality on the ground
that it does not regulate any inherently expressive conduct—not on the ground that
Plaintiffs’ conduct involves obscene speech unprotected by the First Amendment.
Cf. Ashcroft, 535 U.S. at 574-75 (defending federal statute regulating internet speech
based on argument that it regulates obscene speech).

    Nor is it a facial constitutional defect that it is “hard to predict” how the phrase
“prurient interest” will be applied in the future. That is the very nature of facial
constitutional challenges: the “[o]verbreadth doctrine trafficks in hypotheticals,” so
the Court “cannot” possibly comment on “all future applications” of a statute,
which “would require a crystal ball.” Hansen, 599 U.S. at 783 n.5. Likewise, the dis-
trict court’s uncertainty about how enforcement actors would define the phrase

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“prurient sexual interest,” ROA.1287-88, was unjustified because in the mine-run
of cases, courts will apply that term as case law has defined it for seven decades, see

Ashcroft, 535 U.S. at 579; Roth, 354 U.S. at 487 n.20.

    D. Any unconstitutional provisions of S.B. 12 are severable.
    The district compounded its analytical errors in assessing the merits of Plain-
tiffs’ First Amendment claim when it failed to properly apply S.B. 12’s robust sever-
ability clause. See ROA.1272-73.

    “Severability is of course a matter of state law,” Leavitt v. Jane L., 518 U.S. 137,
139 (1996) (per curiam), and Texas law gives near-dispositive weight to a severability
clause, see, e.g., Builder Recovery Servs., LLC v. Town of Westlake, 650 S.W.3d 499,
507 (Tex. 2022). In S.B. 12, the Legislature specifically provided a robust severabil-
ity clause, S.B. 12, § 4, which applies here in at least two ways.
    First, if the Court were to conclude that certain definitions of “sexual conduct”
in S.B. 12 run afoul of the First Amendment (it should not), each one of the defini-
tions of “sexual conduct” is severable from the others, so a conclusion that one def-
inition of “sexual conduct” unconstitutionally regulates expressive conduct should

not mean that all definitions do. That is because each definition applies to discrete
types of conduct and would remain “complete in” themselves and “capable of being
executed” independent of the other definitions. Nat’l Fed’n of the Blind of Tex., Inc.

v. Abbott, 647 F.3d 202, 215 (5th Cir. 2011) (citing Rose v. Drs. Hosp., 801 S.W.2d
841, 844 (Tex. 1990)).
    Second, and at a minimum, Texas Local Government Code section 243.0031(b)
can be severed from the age-limitation requirement in other provisions of the statute,

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Tex. Health & Safety Code § 769.002(a); Tex. Penal Code § 43.28(b)(1)-(2). After
all, while the latter impose substantive regulations on the presentation of sexually ori-

ented performances, the former merely grants authority to impose substantive regula-
tions on such performances. Here again, each of these provisions is “complete in”
themselves and “capable of being executed” “independent” of each other. Rose, 801

S.W.2d at 844. Thus, even if one were unconstitutional, it was legal error for the
district court to reflexively declare the other necessarily unconstitutional. Remand
would be necessary to consider that question in the first instance. Cf. Montano v.

Texas, 867 F.3d 540, 546 (Tex. 2017) (“[A] court of appeals sits as a court of review,
not of first view.”) (collecting cases).




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                                 Conclusion
    The Court should reverse the trial court’s judgment and remand with instruc-
tions to dismiss Plaintiffs’ claims against, or render judgment in favor of, the Attor-
ney General.

                                        Respectfully submitted.

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